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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO

Civil Action No.: 1:20-cv-02236-NYW

Deborah Laufer,
     Plaintiff,
v.

Gravitas - 2450 Larimer, LLC,
       Defendant(s).


                  STIPULATION FOR DISMISSAL WITH PREJUDICE


       Plaintiff and Defendant, by and through undersigned counsel, hereby move

this court to dismiss the instant case with prejudice pursuant to a settlement

agreement entered into between the parties.

 Counsel for Plaintiff:                        Counsel for Defendant:
 s/ Suzette M. Marteny Moore                   s/: Amanda Halstead
 Suzette M. Marteny Moore                      Amanda Halstead
 Of counsel, Thomas Bacon PA                   Mills, Halstead Zaloudek
 2690 S. Combee Road                           600 Seventeenth Street, Suite 2800
 Lakeland, Florida 33803                       Denver, Colorado 80202
Telephone: (863) 229-2140                      (303) 725-4839
 E-mail 1: S.Moore@SMooreLaw.com               ahh@mhzlegal.com
 E-mail 2: Eservice@SMooreLaw.com              Counsel for Defendant, Gravitas -
 Attorney for Plaintiff, Deborah Laufer        2450 Larimer, LLC

                               CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2020, I filed the foregoing using the Court's

electronic filing system, which will serve all counsel of record electronically.

                                           s/ Suzette M. Marteny Moore
                                           Suzette M. Marteny Moore
                                           S. Moore Law, PLLC
                                           2690 S. Combee Road
                                           Lakeland, Florida 33803
                                           Telephone: (863) 229-2140
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                                  E-mail 1: S.Moore@SMooreLaw.com
                                  E-mail 2: Eservice@SMooreLaw.com
                                  Attorney for Plaintiff, Deborah Laufer




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